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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                               January 15, 2015
                                       


In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 15[th] day of January, 2015.

10-14-00300-CV	IN THE MATTER OF THE MARRIAGE OF DEBPRAH YOUNT SCOTT AND STUART LINDSEY SCOTT AND IN THE INTEREST OF E.L.S., T.M.Y.-S., D.M.S., AND D.L.S., CHILDREN - ON APPEAL FROM THE 272[ND] DISTRICT COURT OF BRAZOS COUNTY - TRIAL COURT NO. 13-000532-CVD-272  -  DISMISSED - Memorandum Opinion by Justice Scoggins:

"This cause came on to be heard on the motion of appellant to dismiss appeal, and the same being considered, because it is the opinion of the Court said motion should be granted; it is therefore ordered, adjudged and decreed that said motion be, and hereby is, granted.  It is further ordered, adjudged and decreed that the appeal be, and hereby is, dismissed.  It is further ordered that appellant pay all costs in this behalf expended and that this decision be certified below for observance."
